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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEX4S MAR 1 8 20iI
DALLAS DIVISION .

 

 

 

| aura U.S. DISTRICT COURT

 

 

Deputy

ARTHUR CARSON,

PLAINTIFF,
VS. CIV.NO.3:10-CV-

1523-G ECF
OFFICER KELLY AND THE
CITY OF DALLAS,
DEFENDANTS.

PLAINTIFF’S RESPONSE TO MOTION TO DISMISS

TO THE HONORABLE JUDGE OF COURT;

COMES NOW Plaintiff, Arthur Carson, contends that He has alleged sufficient facts in the complaint
To state claims for both Discriminatory application of Laws/ failure to enforce Texas Laws for African-
American men in Dallas.

{T}he plainest possible meaning of the fourteenth Amendment mandate...is that no state may deny
To any citizen the protection of its criminal and civil law against private violence and private violation.
Also see Plaintiff's attached Exhibit NO.1.

Rule 8(a)(1), federal Rules of Civil Procedures holds in pertinent part, Plaintiffs pleading must
Contain “a short and plain statement of the grounds for Jurisdiction “. to construe Plaintiff's factual
Allegations in the light most favorable to the Plaintiff, Scheuer V. Rhodes, 416 U.S. 223, 94 S.Ct.
1683(1974).

There is nothing conclusory regarding Plaintiff's facts, the defendants have not equally applied the
Law at any phase when its relates to African-American Males, e g.,” see Plaintiff's exhibit NO.2,

Attached, article on the targeting of African-American males by Dallas Police. “

(1)

 
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Plaintiff, also ask this Court to take Judicial Notice the number of excessive force cases relating
To African-American males in Dallas by Dallas Police as opposed to other Races; The Conviction
Ratio for African-American Men as opposed to the overall population; the frequent number of
Wrongful conviction for African-American men as opposed to other races; it is this proof that
Defendant’s Use of the law, that implies intent to discriminate.

An invidious discriminatory purpose may often be inferred from the totality of the relevant facts
Including the fact, if is true, that the law bears more heavily on one race than another. Because race
And gender is the crux’s of Plaintiff's case, African-American men are a suspect class.

Even in arguendo, there were two crimes committed against Plaintiff and ignored by Defendant
Kelly, “ Assault and Property damage “. the Defendant’s motion to dismiss failed to articulate an
Important Governmental objective in not arresting the wrong doer. Pursuant Gonzales V. Castlerock-
125 S.Ct. at 2803. There was no Governmental objective in this case, U.S. V. Virginia, 518 U.S. at-

532-33.

PLAINTIFF’S NEED FOR DISCOVERY:

Plaintiff's case deserves Discovery, since statistical data is essential in matters of Discrimination,

It is interesting to note, Defendant ‘s have yet to explain why the perpetrator whom damaged Plaintiff's
Vehicle were never Arrested or Prosecuted. It is axiomatic, had Plaintiff damaged anyone’s vehicle, the
Law would have been enforced to Arrest Him.

Discovery is essential in this case, Murphy V. Keller, 950 F.2d.293 (5" Cir. 1992), where Plaintiff will
Rely on direct and circumstantial evidence, as it relates to Equal protection intent, see Washington V.
Davis, 426 U.S. 229 at 254.

The federal Court discovery Rules are based on the idea that Justice is best served if each side knows what
The other side will prove ,that Defendant’s custom, practices or Polices that do not provide African-

American men the same protection of the Laws.

(2)

 
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Plaintiff ask this Court apply the “less strigent standard “ to His pro se complaint as opposed to that of an
Attorney, Haines V. kerner, 404 U. S. 519, 92 S. Ct. 594 (1972)

WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAY THIS COURT ORDER

DISCOVERY IN THIS MATTER, AND DENY DEFENDANTS MOTION TO DISMISS.

 

RESPECTFULLY SUBMITTED:

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EVANS AAT DL . Dated this /S7i-7day of March 2011.
Arthur Carson

2608 Highland Rd # 110
Dallas, TX. 75228

(214) 32-5667

CERTIFICATE OF SERVICE:

I, Arthur Carson, certify that a copy of the foregoing Response to Defendant’s Motion to dismiss,

Is hereby mailed to: Tatia R. Wilson, Asst. City Attorney, for the Defendant’s this [5 rey day of
March, 2011, by U.S. Mail, postage prepaid.

I swear the foregoing statements are true and correct.

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Cub fF feu
Arthur Carson

Pro se

 

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DANIELLE LYNN LORDI*

Police Liability Under State Tort
Law for Failure to Enforce
Protection Orders: The Last

Demand for Accountability

[T]he plainest possible meaning of the Fourteenth Amend-
ment mandate . . . is that no state may deny to any citizen the
protection of its criminal and civil law against private violence
and private violation. Put differently, no state may, through
denials of protection, permit any citizen to live in a state of
“dual sovereignty.”. . . No citizen shall be subject to uncheck-
able violence by anyone other than the state; no citizen shall
be under the will and command of anyone other than the
state.

\ N Then a police department fails to enforce a valid order of

protection against domestic violence, the state subjects.
the possessor of that protection order to a system of “dual sover-
eignty”: the victim of domestic abuse is at once under the will
and command of both the state and the batterer. According to
Robin West and other advocates for battered women who have
argued that systematic maladministration of the laws against do-
mestic violence constitutes a violation of equal protection, the
state’s failure to protect requires an enforceable remedy.* With-

 

* J.D, Candidate, University of Oregon School of Law, 2007. Associate Editor,
Oregon Law Review, 2006-07. I would like to thank Professor Caroline Forell for
her guidance and enthusiasm. Thanks also to Professors Garrett Epps and Robert
Tsai for their insight and encouragement, and to my mother for her selfless support
and friendship. Finally, thanks to Professor Merle Weiner, my mentor, for her coun-
sel and unwavering confidence in this and all my endeavors.

1 Robin West, Toward an Abolitionist Interpretation of the Fourteenth Amendment,
94 W. Va. L. Rev. 111, 129 (1991).

2 E.g., Brief of Law Professors as Amici Curiae in Support of Petitioners at 18-30,
United States v. Morrison, 529 U.S. 598 (2000) (Nos. 99-5, 99-29), 1999 WL 1032805,
West, supra note 1, at 135.

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Dallas police beating of black man still under

investigation

By fs AS -, Dallas Crime Examiner
September 715th, 2010 12:50 pm CT

A man who was assaulted by Dallas police officers
recently has decided to convey his message to the
general public regarding his experience and
perspectives surrounding the incident.

The beating was caught by a police video dashboard
camera and when it was viewed by others, it revealed
police officers physically and excessively attacking
Andrew Collins, a young black citizen, following a
pursuit that lasted briefly.

Of all the six officers involved, three of those officers
were placed on administrative leave, while the
remaining three officers were placed on restricted duty.
it was also learned that none of them were veieran
officers; they were all trainees, and they were all white.

According to Dallas Police Chief David Brown, the
department will experience humiliation at a universal
extent once the video footage (featuring the September
5 beating) will be observed.

Collins, while outside the office of his lawyer,
announced that it became a difficult situation for him
recently. He seemed to be courteous and soft-spoken,
and did not have any noticeable wounds.

it was claimed that police have attacked Collins with
fists and a club, and the incident was videotaped by a
police dashboard camera installed in a cruiser.
Although Collins declared that it was a painful

http://www.examiner.com/crime-in-dallas/dallas-police-beating-of-black-man-still-under-i... 3/6/2011

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experience, he was not able to tell how many blows he
had received.

Sources say that when the video footage was viewed,
Collins did not seem to retaliate against the officers.
instead, they heard Collins crying out and telling the
officers to stop attacking him. In addition, sources say
that at some stage in the pursuit, one of the officers
was heard shouting, "Get close to him so | can beat the
[expletive] out of him." Collins also claimed that he
obeyed the officers and did everything they told him to
do.

The reason why Collins was approached by police was
that they spotted him driving a motorcycle on the
sidewalk. This, then, led to a short chase; and then, the
beating. The incident has affected Collins
psychologically.

Since the police department is experiencing public
embarrassment, the accused officers could be
involuntarily terminated and sued.

Chief Brown declared that the occurrence was not
racially motivated. Yet, he cares about all the concerns
given by members of the community. Hence, he intends
to meet with minority activists to discuss the incident
following the release of the video footage.

it was also learned that in this case, the officers
involved have falsified the police report, as a way to
cover up their acts.

Like this case, any case of police misconduct, police
brutality, or police corruption would be nothing but
humiliation to the police agencies the officers invoived
are working for. These events have remained
widespread, even after the existence of the Civil Rights
Act of 1964.

So why is it that blacks (or minorities) have become the
main targets of police misconduct?

if it has been said that Collins did not make any attempt
to resist the officers or act in any negative way in front

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